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7                                                       The Honorable Robert S. Lasnik
     Karl G. Anuta (WSB No. 21346)
8
     Law Office of Karl G. Anuta, P.C.
9    735 S.W. 1st Ave., 2nd Floor
     Portland, Oregon 97204
10   T: (503 827-0320 / F: (503) 288-6551
     kga@integra.net
11

12   Thane Tienson (WSB No. 13310)
     Landye Bennett, Blumstein
13   1300 S.W. 5th Ave., Suite 3600
     Portland, Oregon 97201
14   T: (503) 224-4100 / F: (503) 224-4133
     ttienson@lbblawyers.com
15

16                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
17                                   AT SEATTLE

18   THE COALITION TO PROTECT PUGET
     SOUND HABITAT,                              No.: 2:16-CV-00950-RSL
19                 Plaintiff,
20              v.
     U.S. ARMY CORPS OF ENGINEERS, ET
21   AL.,
                   Defendants,
22              and                              DECLARATION OF THANE W. TIENSON
                                                 IN SUPPORT OF COALITION MOTION
23
     TAYLOR SHELLFISH COMPANY, INC.,             FOR AN AWARD OF FEES AND
24                                               EXPENSES
                      Defendant-Intervenor.
25

26

27
     Page 1 – DECL. OF THANE W. TIENSON
28   IN SUPPORT OF COALITION MOTION                     LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                  TRIAL ATTORNEY
     FOR AN AWARD OF FEES AND EXPENSES                           735 S.W. First Avenue
                                                                  Portland, OR 97204
     CASE NOS. 2:16-CV-00950 AND 2:17-CV-01209          Phone: 503.827.0320 – Fax 503.228.6551
1

2    CENTER FOR FOOD SAFETY,
                   Plaintiff,                      No.: 2:17-CV-01209-RSL
3               v.
     U.S. ARMY CORPS OF ENGINEERS, ET
4
     AL.,
5                  Defendants,
                and
6
     PACIFIC COAST SHELLFISH GROWERS
7    ASSOCIATION.
8
                      Defendant-Intervenor.
9
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13
     I, Thane W. Tienson, Declare:
14
            1.     I am one of the attorneys representing plaintiff Coalition to Protect Puget
15
     Sound Habitat (the Coalition) in this matter. I am over the age of 18 years. If called as a
16
     witness I would and could testify to the following as a matter of my own personal
17

18   knowledge.

19          2.     I have been practicing law and have been a member of the Oregon State
20   Bar for 43 years. I have been a member of the Washington State Bar for 37 years. I
21
     have been admitted to practice before the U.S. District Court in the Western District of
22
     Washington for 37 years.
23
            3.     I have spent the majority of my legal career engaged in complex federal
24
     and state environmental and natural resources litigation. A copy of my CV, which details
25

26   this experience, is attached to this declaration and is incorporated by reference and

27   marked as Exhibit A.
     Page 2 – DECL. OF THANE W. TIENSON
28   IN SUPPORT OF COALITION MOTION                         LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                      TRIAL ATTORNEY
     FOR AN AWARD OF FEES AND EXPENSES                               735 S.W. First Avenue
                                                                      Portland, OR 97204
     CASE NOS. 2:16-CV-00950 AND 2:17-CV-01209              Phone: 503.827.0320 – Fax 503.228.6551
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            4.     As a result of my training and experience, I possess distinctive knowledge
2
     and specialized skills in environmental and natural resources law.
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            5.     I have provided to Mr. Anuta my contemporaneously kept time records for
4

5    this case, which provides a true and accurate recording of my time, and the time of my

6    paralegal. As those time records show, I spent 350.30 hours on this litigation through
7    August 31, 2020 and my paralegal spent 15.1 hours on this litigation. Of that, we are
8
     only seeking recovery for 319.95 of my hours, but all 13.2 hours for my paralegal.
9
            6.     My time in this case was primarily devoted to reviewing the voluminous
10
     Record, strategizing with co-counsel, coordinating with the client, researching the law
11

12   and the applicable science , reviewing and editing drafts of all pleadings , including the

13   Complaint and Supplemental Complaint and the briefs from Mr. Sargetakis and Mr.

14   Anuta pertaining to the various Cross Motions for Summary Judgment and remedy, and
15   preparing with Mr. Anuta for oral argument and actively participating in that argument .
16
            7.     I have carefully exercised billing discretion and judgment to try to remove
17
     any time that was in my view excessive or duplicative from the hours for which we seek
18
     recovery. I have also been careful to not seek recovery for work that I performed that
19

20   could have been performed by a non-attorney. I reviewed my time records prior to the

21   filing of this Motion for an award of attorney’s fees. The hours for which recovery is

22   sought were reasonably spent on work necessary to advance this litigation and to help
23
     plaintiff achieve the success that it did.
24
            8.     The time I spent working on this case took away time which could have
25
     been spent on work for other clients.
26
            9.     I seek $650/hr for my time spent on this case, and $150/hr for the time
27
     Page 3 – DECL. OF THANE W. TIENSON
28   IN SUPPORT OF COALITION MOTION                         LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                      TRIAL ATTORNEY
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     CASE NOS. 2:16-CV-00950 AND 2:17-CV-01209              Phone: 503.827.0320 – Fax 503.228.6551
1
     spent by my paralegal.
2
            10.    Paralegals are instrumental to keeping client costs down, as rates are
3
     much lower, but their knowledge and experience is frequently in-depth with regard to
4

5    substance and procedure. I ordinarily bill $175 /hr for paralegal time in my

6    environmental and natural resources cases, which represents incredible value for my
7    clients. My paralegal, Mr. Joseph Larson has been a paralegal in environmental law for
8
     over 30 years, and has significant specialized knowledge in this area of law. Based on
9
     my personal experience, and my knowledge of billing practices of attorneys in private
10
     practice in Washington and Oregon, the other Declarations submitted concurrently with
11

12   this declaration, and the Motion and Memorandum in Support, I believe the hourly rate

13   of $150 per hour sought for Mr. Larson’s time in this case is conservative and therefore

14   quite reasonable.
15          11.    Based on my personal knowledge of billing practices of attorneys in
16
     private practice in Washington and Oregon, the other Declarations submitted
17
     concurrently with this Declaration, and the information provided in those Declarations
18
     and in the Motion and Memorandum in Support, I believe the hourly rates sought for my
19

20   self, for Mr. Anuta, and for Mr. Sargetakis, are all reasonable market rates for attorneys

21   practicing in the Seattle area, performing complex environmental litigation, with the

22   respective background and expertise of each attorney.
23
           I declare under penalty of perjury under the laws of the state of Washington and
24   pursuant to 28 U.S.C. § 1746, that the foregoing is true and correct.

25          Executed on this 18th day of September 2020.

26                                         Respectfully submitted,
27
     Page 4 – DECL. OF THANE W. TIENSON
28   IN SUPPORT OF COALITION MOTION                         LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                      TRIAL ATTORNEY
     FOR AN AWARD OF FEES AND EXPENSES                               735 S.W. First Avenue
                                                                      Portland, OR 97204
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1
                                         /s/ Thane W. Tienson
2                                        Thane Tienson (WSB No. 13310)
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                                         Portland, Oregon 97201
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                                         ttienson@lbblawyers.com
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     Page 5 – DECL. OF THANE W. TIENSON
28   IN SUPPORT OF COALITION MOTION                    LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                 TRIAL ATTORNEY
     FOR AN AWARD OF FEES AND EXPENSES                          735 S.W. First Avenue
                                                                 Portland, OR 97204
     CASE NOS. 2:16-CV-00950 AND 2:17-CV-01209         Phone: 503.827.0320 – Fax 503.228.6551
THANE TIENSON
1300 SW 5th Avenue, Ste. 3600, Portland, Oregon 97201 (Work)
503.224.4100  503.224.4133 (facsimile)  email: ttienson@lbblawyers.com
2067 NW Irving, Portland, Oregon 97209 (Home)  503.810.8303 (Cell)

Professional:

Partner, Landye Bennett Blumstein LLP (1990‐present)
1300 SW Fifth Avenue, Ste. 3500
Portland, Oregon 97201

I am a trial lawyer in private practice specializing in the area of environmental and natural resources
law. For over 40 years, I have been actively involved in representing the interests of the commercial
and recreational fishing industries and environmental and conservation groups and local governments
in advocacy and litigation over fisheries, environmental cleanup and water quality issues in Oregon,
Washington, California and Alaska, and public access to navigable rivers and lakes. During that same
period, I have lobbied and testified before Congress and the Oregon and Washington State Legislatures
and various state and local government Commissions on issues ranging from salmon protection,
restoration and enhancement, increased protection for our oceans, rivers and lakes , promoting
sustainability in fisheries, increasing protection for women working in the maritime industry and
helping homeless youth . I am currently involved as co-counsel in the cleanup of the Portland Harbor
Superfund site and the Port of Astoria Areawide Petroleum Contamination site.


I have lectured frequently on environmental and natural resource law issues, including the Endangered
Species Act, Clean Water Act, Magnuson-Stevens Act and Ethics in the Practice of Environmental Law. I
have made presentations to the Pacific Fisheries Legislative Task Force, the Pacific Legislative
Conference, and the Northwest Power and Conservation Council. I was a member of former Oregon
Governor Kulongoski’s Environmental and Natural Resources Advisory Committee during his first
gubernatorial campaign and I was retained by former Oregon Governor Kitzhaber in conjunction with
the Columbia River ship channel deepening I also helped found the West Coast Seafood Processors
Association and served as its first Executive Director on an interim basis.

Education:
Santa Clara University (B.A.); Golden Gate University (M.P.A.); Northwestern School of Law at Lewis and
Clark College (J.D.). Member, 1975-1977 and Issue Editor, 1976-1977, Environmental Law Review.

Publications:
Commercial Fishing and Fisheries, Oregon State Bar CLE, Environmental and Natural Resources Law
(2002 and 2006); Carrots and Sticks: How Litigation Can Promote Negotiation and Other Settlement
Solutions, Ocean and Coastal Law Journal, Vol. 7 No. 1 (2001); EU Fishery Trade Policies: A Case Study, 3
EEZ Technology 161 (1998)
Author: Alyeska v. Wilderness Society, Demise of the Private Attorney General, 6 ENV Law Review 243
(1976).

Professional Affiliations:
All Federal District Courts in Oregon, Washington and Alaska; Ninth Circuit Court of Appeals,
Multnomah County, Clark County, Oregon and Washington State Bar Associations; American Bar
Association, Environment Energy and Natural Resources Sections; National Lawyers Guild.

                                                                  Exhibit A - Tienson Decl - Page 1 of 2
Civic Activities:

Present
National Fisheries Conservation Center: Founding and current Board Member
Friends of Astoria Column: Longtime Board Member
Oregon Center for Public Policy – Board Member

Past
Astoria Bi‐Centennial Commission: Board Member
Campaigners: President
Citizens Crime Commission: Board Member
City Club of Portland: Research Board; Chair - Bi-State Intergovernmental Planning Committee; Chair -
Government and Taxation Standing Committee; Chair - Roads and Transit Finance Committee
Madison High School, Classroom Law Project – team coach
Columbia Riverkeeper: Co-founder and former Board Member
Court Appointed Special Advocates (CASA): Board Member
Lower Columbia River Estuary Partnership: Board Member
Northwest District Neighborhood Assn.: Board Member
Northwest District Parking Committee
Northwest Environmental Advocates: Board Member
Northwest Neighborhood Cultural Center: Board Member
Oregon College of Arts & Crafts: Board Member, Executive Committee Member
Oregon Lawyers for A Sustainable Future: Founding Board Member/Legislative Committee – Co-Chair
Oregon Investment Board (Columbia River Gorge National Scenic Area): Board Member
Portland State University: College of Urban and Public Affairs Search Committee, Chair
Portland State University (Institute for Metropolitan Studies): Board Chair
Portland Urban League: Board Chair
Save Our Wild Salmon: Founding Board Member
Stark Raving Theatre: Board Member
Veterans for Peace

Honors and Awards:
Association of Northwest Steelheaders (2004), President’s Award for Outstanding Service
Astoria Regatta (summer festival) Admiral (1998)
Cornelius Honor Society, Northwestern School of Law (1976)
Northwestern School of Law Moot Court Champion (1976)
Oregon State Bar Moot Court Champion (1976)
Northwestern School of Law, Member of Law Review (1975-1977) and Issue Editor (1976-1977)

Military:
U.S. Army Infantry , Vietnam (1969-1970)




                                                 2             Exhibit A - Tienson Decl - Page 2 of 2
1                                 CERTIFICATE OF SERVICE
2          I hereby certify that on September 18, 2020 I electronically filed this
3    DECLARATION OF THANE W. TIENSON IN SURPPORT OF COALITION MOTION
4    FOR AN AWARD OF FEES AND EXPENSES with the Clerk of the Court using the
5    CM/ECF system which will send notification of such filing on the following:
6
     Kent E. Hanson                           Samuel W. Plauche’
7    Attorney for Defendants                  Attorney for Defendant Intervenor
8    kent.hanson@usdoj.gov                    billy@plauchecarr.com

9    Peter Kryn Dykema                        Jesse G. Denike
     Attorney for Defendants                  Attorney for Defendant Intervenor
10   Peter.dykema@usdoj.gov                   Jesse@plauchecarr.com
11
     Dedra S. Curteman                        Amanda M. Carr
12   Attorney for Defendants                  Attorney for Defendant Intervenor
     dedra.curteman@usdoj.gov                 amanda@plauchecarr.com
13
     Mark Brown
14   Attorney for Defendants
     Mark.brown@usdoj.gov
15

16                Dated this 18th day of September 2020.

17                                            LAW OFFICE OF KARL G. ANUTA, P.C.
18                                            /s/ Karl G. Anuta_______________
                                              KARL G. ANUTA (WSBA #21346)
19
                                              kga@integra.net
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     Page 1 – CERTIFICATE OF SERVICE                       LAW OFFICE OF KARL G. ANUTA, P.C.
                                                                     TRIAL ATTORNEY
     CASE NOS. 2:16-CV-00950 AND 2:17-CV-01209                      735 S.W. First Avenue
                                                                     Portland, OR 97204
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